      Case 3:18-cv-01444-HNJ Document 1 Filed 09/06/18 Page 1 of 47            FILED
                                                                      2018 Sep-06 AM 10:01
                                                                      U.S. DISTRICT COURT
                                                                          N.D. OF ALABAMA



              IN THE UNITED STATES DISTRICT COURT
            FOR THE NORTHERN DISTRICT OF ALABAMA
                    NORTHWESTERN DIVISION

UNITED STATES OF AMERICA,

                 Plaintiff,

v.

SUNKEY PUBLISHING, INC., a
corporation,

SUN KEY PUBLISHING, LLC, a limited
liability company,
                                           CIVIL ACTION NO.:
FANMAIL.COM, LLC., a limited liability
company,

WHEREDATA, LLC, a limited liability
company,

CHRISTOPHER UPP, individually and as an
officer of SUNKEY PUBLISHING, INC.,
SUN KEY PUBLISHING, LLC, and
WHEREDATA, LLC,

MARK VAN DYKE, individually and as an
officer of SUNKEY PUBLISHING, INC.
AND SUN KEY PUBLISHING, LLC,

LON BROLLIAR, individually and as an
officer of FANMAIL.COM, LLC, and

ANDREW DORMAN, individually and as an
officer of FANMAIL.COM, LLC,

                 Defendants.
           Case 3:18-cv-01444-HNJ Document 1 Filed 09/06/18 Page 2 of 47




COMPLAINT FOR CIVIL PENALTIES, PERMANENT INJUNCTION, AND
                OTHER EQUITABLE RELIEF
      Plaintiff, the United States of America, acting upon notification and

authorization to the Attorney General by the Federal Trade Commission (“FTC”),

pursuant to Section 16(a)(1) of the Federal Trade Commission Act (“FTC Act”), 15

U.S.C. § 56(a)(1), for its Complaint alleges:

      1.      Plaintiff brings this action under Sections 5(a), 5(m)(1)(A),13(b) and 19

of the Federal Trade Commission Act (“FTC Act”), 15 U.S.C. §§ 45(a), 45(m)(1)(A),

53(b) and 57b, and the Telemarketing and Consumer Fraud and Abuse Prevention Act

(“Telemarketing Act”), 15 U.S.C. § 6101 et seq., to obtain monetary civil penalties, a

permanent injunction, and other relief for Defendants’ acts or practices in violation of

Section 5(a) of the FTC Act, 15 U.S.C. § 45(a), and the FTC’s Telemarketing Sales

Rule (“TSR”), 16 C.F.R. Part 310, in connection with generating marketing leads to

sell to educational and other institutions.

                             JURISDICTION AND VENUE

      2.      This Court has subject matter jurisdiction pursuant to 28 U.S.C. §§ 1331,

1337(a), and 1345, and 15 U.S.C. §§ 45(m)(1)(A), 53(b), 56(a), 6102(c), and 6105(b).

This action arises under 15 U.S.C. § 45(a).

      3.      Venue is proper in this district under 28 U.S.C. § 1391(b)(2), 1395(a), and

15 U.S.C. § 53(b).

                                              3
           Case 3:18-cv-01444-HNJ Document 1 Filed 09/06/18 Page 3 of 47




                                    DEFENDANTS

      4.      Defendant Sunkey Publishing, Inc. (“Sunkey Inc.”) is an Alabama

corporation with its principal place of business in Huntsville, Alabama. Sunkey Inc.

transacts or has transacted business in this district and throughout the United States.

      5.      Defendant Sun Key Publishing, LLC (“Sun Key LLC”) is an Alabama

limited liability company with its principal place of business in Huntsville, Alabama.

Sun Key Publishing transacts or has transacted business in this district and throughout

the United States.

      6.       Defendant WhereData, LLC (“WhereData”) is an Alabama limited

liability company with its principal place of business in Brownsboro, Alabama.

WhereData is a fifty-percent owner of Sunkey Inc. and a fifty-percent owner and

member of Sun Key LLC. WhereData transacts or has transacted business in this

district and throughout the United States.

      7.       Defendant Fanmail.com, LLC (“Fanmail”) is an Alabama limited

liability company with its principal place of business in Huntsville, Alabama. Fanmail

transacts or has transacted business in this district and throughout the United States.

      8.      Defendant Christopher Upp is an officer of Sunkey Inc. and Sun Key

LLC, and is the manager of WhereData. At all times material to this Complaint, acting

alone or in concert with others, he has formulated, directed, controlled, had the

authority to control, or participated in the acts and practices set forth in this Complaint.
                                             4
           Case 3:18-cv-01444-HNJ Document 1 Filed 09/06/18 Page 4 of 47




Upp resides in this district and, in connection with the matters alleged herein, transacts

or has transacted business in this district and throughout the United States.

      9.      Defendant Mark Van Dyke is an officer of Sunkey Inc. and Sun Key LLC,

and a member of Fanmail. At all times material to this Complaint, acting alone or in

concert with others, he has formulated, directed, controlled, had the authority to

control, or participated in the acts and practices set forth in this Complaint. In

connection with the matters alleged herein, Van Dyke transacts or has transacted

business in this district and throughout the United States.

      10.      Defendant Lon Brolliar is an officer and member of Fanmail. At all times

material to this Complaint, acting alone or in concert with others, he has formulated,

directed, controlled, had the authority to control, or participated in the acts and

practices of Fanmail, including the acts and practices set forth in this Complaint.

Brolliar resides in this district and, in connection with the matters alleged herein,

transacts or has transacted business in this district and throughout the United States.

      11.      Defendant Andrew Dorman is an officer and member of Fanmail. At all

times material to this Complaint, acting alone or in concert with others, he has

formulated, directed, controlled, had the authority to control, or participated in the acts

and practices of Fanmail, including the acts and practices set forth in this complaint.

Dorman resides in this district and, in connection with the matters alleged herein,

transacts or has transacted business in this district and throughout the United States.
                                            5
        Case 3:18-cv-01444-HNJ Document 1 Filed 09/06/18 Page 5 of 47




                            COMMON ENTERPRISE

      12.    At all times material to this Complaint, Defendants Sunkey Inc., Sun Key

LLC, and WhereData (collectively, the “Sunkey Entities”) have operated as a

common enterprise while engaging in the deceptive and abusive acts and practices

alleged below. The Sunkey Entities have conducted the business practices described

below through interrelated companies that have common officers and directors,

managers, business functions, employees, and office locations. Because the Sunkey

Entities have operated as a common enterprise, each of them is jointly and severally

liable for the acts and practices alleged below. Defendants Mark Van Dyke and

Christopher Upp (collectively with the Sunkey Entities, the “Sunkey Defendants”)

have formulated, directed, controlled, had the authority to control, or participated in

the acts and practices of the Sunkey Entities that constitute the common enterprise.

                                  COMMERCE

      13. At all times material to this Complaint, Defendants have maintained a

substantial course of trade in or affecting commerce, as “commerce” is defined in

Section 4 of the FTC Act, 15 U.S.C. § 44.

                      DEFENDANTS’ BUSINESS ACTIVITIES

                                   OVERVIEW

      14.    The Sunkey and Fanmail Defendants target potential military recruits


                                          6
        Case 3:18-cv-01444-HNJ Document 1 Filed 09/06/18 Page 6 of 47




and induce them to submit their information by disguising their websites and

advertisements as official recruiting channels and representing that the information

will be used solely for recruiting purposes. In reality, Defendants are gathering the

information to sell as marketing leads to post- secondary schools for a price ranging

between $15 and $40 per lead. The Sunkey Entities continue their deception during

phone calls to consumers who submit information on their websites by holding

themselves out as military representatives. Additionally, by marketing specific

schools during those calls and featuring schools on their “recruitment” websites,

Defendants provide the false impression that the military endorses those schools.

Finally, the calls also violate the Do Not Call provisions of the Telemarketing Sales

Rule because numerous consumers who submitted their information for military

recruitment purposes never provided express written consent to receive telemarketing

calls regarding post-secondary education. Defendants have made millions of dollars

from the sale of their leads.

                           DEFENDANTS’ WEBSITES

      15.    Both the Sunkey Entities and Fanmail have operated copycat military

recruiting websites since at least 2010. As described below, these websites, some of

which include army.com, armyreserves.com, and armyenlist.com, appear to be

recruitment websites affiliated with the U.S. Military, rather than websites aimed at


                                         7
            Case 3:18-cv-01444-HNJ Document 1 Filed 09/06/18 Page 7 of 47




 collecting consumer information to be used as marketing leads for post-secondary

 schools.

  The Sunkey Defendants Generate Post-Secondary Education Leads Through
    Deceptive Military Recruitment Themed Websites and Advertisements

       16. Sun Key LLC owns and operates websites from which the Sunkey

 Defendants generate post-secondary education leads, including armyenlist.com,

 navyenlist.com, marinesenlist.com, coastguardenlist.com, nationalguardenlist.com,

 and airforceenlist.com (collectively, “Enlist Sites”), and armyreserves.com.

 WhereData owns the domain names for the Enlist Sites. Tens of thousands of

 consumers visit these websites each month.

                                   The Enlist Sites

17.   The Sunkey Defendants use internet search engine ads that appear as if they are

official military recruiting advertisements – and make no mention of post-secondary

education – to drive consumers interested in joining the military to their Enlist Sites.

For example, the following was an internet search engine ad for the Sunkey




Defendants’ website airforceenlist.com: The Sunkey Defendants ran nearly identical

search engine ads for marinesenlist.com, navyenlist.com, and nationalguardenlist.com.

                                           8
        Case 3:18-cv-01444-HNJ Document 1 Filed 09/06/18 Page 8 of 47




      18.    Other of their search engine ads contained the phrase, “The Army Wants

You!” and “Coast Guard Wants You!”

      19.    Internet search engine results for armyenlist.com also describes that

website as an official military recruitment website and make no mention of post-

secondary education:




Search results for nationalguardenlist.com are substantially similar and contain a

“Contact Us” heading with text underneath that states, “U.S. National Guard

Information: To contact a recruiter Click Here.”

      20.    The headings for search engine results for the websites navyenlist.com,

marinesenlist.com,        airforceenlist.com,        coastguardenlist.com,           and

nationalguardenlist.com, state, “How To Join.” The search results also contain links

to additional subpages on the websites, with titles such as, “talk to a recruiter,”

“submit your application,” and “take the ASVAB,” which is a test used to determine
                                          9
        Case 3:18-cv-01444-HNJ Document 1 Filed 09/06/18 Page 9 of 47




qualification for enlistment in the military.

      21. Consumers who land on the Sunkey Defendants’ websites are directed to

provide their contact information to obtain more information about joining the

military or speaking with a military recruiter.

      22.    None of the Enlist Sites advise consumers that they may be contacted by

the specific Sunkey Entities.

                                        Armyenlist.com

      23.    A consumer who visited armyenlist.com between 2011 to late 2014

would have been shown the following screen:




      24. The      language     “A    Sun        Key   Publishing   Company,”   under

                                            10
        Case 3:18-cv-01444-HNJ Document 1 Filed 09/06/18 Page 10 of 47




ARMYENLIST.COM, was added in mid-2013.

      25.    Clicking on the red “Request Information” button took consumers to the

following form:




      26.    The form describes itself as an “Army Information Request” and tells

consumers, “your personal information will not be shared with anyone else.”

      27.    Even after revising its website in or around May 2015, armyenlist.com

continued representing itself as a military recruitment website:




                                          11
       Case 3:18-cv-01444-HNJ Document 1 Filed 09/06/18 Page 11 of 47




      28. Currently, each subpage of the website contains a short form for

consumers to submit their name and phone number entitled “get information about

joining the army and educational opportunities.” Above the form appears a hyperlink

in red font urging consumers to “Click Here to request information pack [sic] about

joining!”

      29.   A consumer who completes and submits the short form or clicks on the

hyperlink would be taken to the following longer form:

                                        12
Case 3:18-cv-01444-HNJ Document 1 Filed 09/06/18 Page 12 of 47




                              13
       Case 3:18-cv-01444-HNJ Document 1 Filed 09/06/18 Page 13 of 47




      30.   The right-hand side of the Armyenlist.com landing page features a

“Reenlist” hyperlink that appears under the “Prior Service” option. The hyperlink

leads to the following form:




                                       14
         Case 3:18-cv-01444-HNJ Document 1 Filed 09/06/18 Page 14 of 47




       31.    The form urges consumers to “Contact the U.S. Army” and advises that

 “your personal information will not be shared with anyone else.”

      32.     The language in small text at the bottom of the website becomes visible

only after scrolling down. A consumer could submit information on the website

without seeing the disclaimer. Similar language appears on other of Defendants’

websites.

               The “Enlist Sites” for Other Branches of the U.S. Armed Forces

       33.    A consumer who visits one of the other Enlist Sites would see a screen

 similar to the following:




                                         15
           Case 3:18-cv-01444-HNJ Document 1 Filed 09/06/18 Page 15 of 47




The Enlist Sites for the other branches of the U.S. Armed Forces are substantially

similar.

      34. The faint, small print next to the logo at the top of the page stating, “A

Sun Key LLC Company,” was added in 2013, and the text describing the website as
                                         16
       Case 3:18-cv-01444-HNJ Document 1 Filed 09/06/18 Page 16 of 47




a “non-government privately-sponsored website” was added in 2015.

      35. Selecting the “Contact a Recruiter” or “Get Information About Joining”

options on the Enlist Sites’ screen as depicted in paragraph 33 would take a consumer

to the following form:




                                         17
        Case 3:18-cv-01444-HNJ Document 1 Filed 09/06/18 Page 17 of 47




      36.    At least up until sometime in 2013, the top of the form appeared as

follows:




      37.    The notice at the bottom of the form that advised consumers that they

“may be contacted by AirforceEnlist.com via phone, email or text about military and

education information” did not appear until sometime in 2013. The dropdown menu

inquiring about consumers’ interest in education opportunities did not appear until

sometime later, and at least up until the end of 2015, the form pre-selected “I would

like to discuss my options:”

      38.    A form similar to the following appears at the bottom of numerous

subpages of the Enlist Sites:




                                         18
         Case 3:18-cv-01444-HNJ Document 1 Filed 09/06/18 Page 18 of 47




Consumers who completed this form would be taken to a longer form, but would still

receive a call from the Sunkey Defendants even if they did not complete the longer

form.

                                  Armyreserves.com

        39.   The Sunkey Defendants use the following keyword metatags for

armyreserves.com so that it will appear in results when consumers search for

information on joining the military: “US Army Reserves,” “US Army,” “Army,”

“Army Reserves,” “Reserve,” “Reserve Requirements,” “7 Steps to Join,” “News,”

“Latest News,” “Two Weeks a Year - One Weekend a Month,” “Reserve,” “Reserve

Benefits,” “Reserve Pay,” and “Benefits.”

        40.   Internet search engine results for armyreserves.com describes the

website as an official military recruitment website and make no mention of post-

secondary education:




                                        19
        Case 3:18-cv-01444-HNJ Document 1 Filed 09/06/18 Page 19 of 47




      41.    To    drive    consumers   interested   in   joining   the   military   to

armyreserves.com, the Sunkey Defendants use internet search engine ads that appear

as if they are official military recruiting advertisements and make no mention of post-

secondary education:




      42.    A consumer who visited armyreserves.com would be shown a screen

similar to the following:




                                         20
Case 3:18-cv-01444-HNJ Document 1 Filed 09/06/18 Page 20 of 47




                              21
        Case 3:18-cv-01444-HNJ Document 1 Filed 09/06/18 Page 21 of 47




      43. Clicking on the “Contact A Recruiter” hyperlink under the heading on the

left- hand side of the website that states, “CONTACT US ARMY RESERVES,” takes

a visitor to a webpage that appears as follows:




                                         22
        Case 3:18-cv-01444-HNJ Document 1 Filed 09/06/18 Page 22 of 47




      44.    Beneath the green heading that states “Contact A Recruiter,” the

following language appears: “Are you ready to talk to a recruiter about the careers and

benefits available in the U.S. Army Reserves? If so, fill out the form below. You are

under absolutely no obligation to join and your personal information will not be shared

with anyone else.”

      45.    The drop-down menu at the bottom of the form and the question next to

it, “Are you interested in education opportunities?” did not appear until sometime in

2015. The default option is, “I would like to discuss my options.” The other available

options are: “I am very interested;” “I am taking college classes now;” and “I am only

interested in the military.” Consumers received calls about schools even if they

selected the option, “I am only interested in the military.”

      46.    Upon clicking the “submit” button at the bottom of the form, a

confirmation screen appears that states:

             Thank you for your request about joining the U.S.
             Military! Your information has been submitted. Someone
             will call or text you shortly to verify your information and
             discuss your education opportunities. If you don’t receive
             a call or if you don’t get the email we have a list of
             recruiter phone numbers for your convenience.

Embedded in the text “recruiter phone numbers” is a hyperlink that takes the

consumer to the list of recruiter phone numbers.


                                           23
        Case 3:18-cv-01444-HNJ Document 1 Filed 09/06/18 Page 23 of 47




      47.    Below that text, a “special offer just for you” is promoted that invites the

consumer to fill out a form to “[f]ind schools” that are “right for you.”

      48.    Sometime in 2013, a fine print disclaimer was added to the website

advising that it is not affiliated with the U.S. Armed Forces. The disclaimer appears

at the bottom of the website beneath the copyright information in font substantially

smaller than the main text. The disclaimer is not visible without scrolling down, and

a consumer could submit personal information on the website without seeing it.




                                          24
       Case 3:18-cv-01444-HNJ Document 1 Filed 09/06/18 Page 24 of 47




                                 Advertisements
      49. The Sunkey Defendants have generated post-secondary education leads

through advertisements that induce consumers to submit personal information for

military recruitment purposes, but provide no indication that the information will be

used to market post-secondary education. For example, the Sunkey Defendants ran

the following advertisement on the internet job board, snagajob.com, from at least

2010 to January 2016:




      50.   The form states: “Want more information about joining the U.S. Navy?

You are under absolutely no obligation to join and your personal information will
                                         25
       Case 3:18-cv-01444-HNJ Document 1 Filed 09/06/18 Page 25 of 47




not be shared with anyone else.” Below the fields requesting consumer information

is a checkbox that states, “Yes, I am interested in receiving more information from

the U.S. Navy.” Further below, appears the representation, “This is an opportunity

from the U.S. Navy.”

    The Fanmail Defendants Generate Leads Through Deceptive Military
                         Recruitment Websites

      51. Defendants Fanmail, Brolliar, and Dorman (collectively, the “Fanmail

Defendants”) have no official relationship with any branch of the U.S. Armed Forces.

Nonetheless, they own and operate military recruitment themed websites, including

air-force.com   and    army.com,    which     has   several   subdomains,   including

airforce.army.com, navy.army.com, marinecorps.army.com, and nationalguard.

army.com.

      52. Over one hundred thousand unique visitors visit the Fanmail Defendants’

webpages each month. In internet search results, army.com is described as follows:




      53.    The internet browser tab for army.com reads, “Army.com: Enlist,

Reenlist, Benefits.” The internet browser tab for air-force.com reads, “Air-force.com:

Learn more about enlisting in the U.S. Airforce.”



                                         26
       Case 3:18-cv-01444-HNJ Document 1 Filed 09/06/18 Page 26 of 47




      54.    A consumer who visited army.com would see the following screen:




      55.    The statement, “a non-government, privately sponsored website,”

located at the top of the page, did not appear on the website until mid-2016 and does

not appear on any of the army.com subdomains dedicated to other branches of the

U.S. Armed Forces. Comparably larger and bolder font that urges consumers to “Be

More. join or reenlist today” appears next to a form through which consumers can

submit their name and phone number.

      56.    A disclaimer identifying Fanmail as the website operator and stating that

the website is not affiliated with the military or government appears at the bottom of

the page in font that is substantially smaller than the main text on the website. A

                                         27
       Case 3:18-cv-01444-HNJ Document 1 Filed 09/06/18 Page 27 of 47




consumer could submit contact information on the form without seeing the disclaimer,

as it becomes visible only after scrolling down several times.

      57.    Placed next to the invitation on the landing page to “Be More. join or

reenlist today” are boxes for the consumer to input name and phone number with a

button labeled “Next” for the consumer to click once the information is entered. A

consumer who clicks the “Next” button would be taken to the following or similar

webpage containing a form that requests additional personal information:




      58.    Language at the bottom of the form states, “I consent to being contacted

at the phone number(s) above, including my wireless number if provided. I understand

that these calls may be generated using an automated technology.”




                                         28
       Case 3:18-cv-01444-HNJ Document 1 Filed 09/06/18 Page 28 of 47




      59.   Once the form is submitted, the following screen or a similar screen

appears:




      60.   Next to a picture of Uncle Sam, this webpage states, “WE SALUTE

YOU! You have chosen the path of honor through service to your country.” The

webpage further states:

            *Please be aware that our military is currently
            downsizing. Army.com wants you to know that there are
            more ways for you to serve your country than just
            military service. If you had a college education you could
            contribute through engineering, science, law, health care
            and more. For every soldier that serves our country there
            are many more citizens who provide the technology and
            service that give them the ability to serve safely. We urge
            you to understand all of your options as you make the
            choices that shape the rest of your life.

                                         29
        Case 3:18-cv-01444-HNJ Document 1 Filed 09/06/18 Page 29 of 47




      61.    Below that text appears a plug for “military-focused” Grantham

University and a form to submit for additional information about the school.

      62. Previously, the army.com landing page contained boxes that a consumer

could check for different branches of the military and for information on college. Text

near the checkboxes stated:

             The US Army provides excellent training for exciting
             jobs with great pay. If you only have a GED, you will
             need college credits before enlisting in the Army. If you
             have prior service in the military, the US Army is still
             interested in reenlisting you. To increase your chances for
             a better job and higher pay, there are some education
             opportunities you can learn about, too! Get information
             about careers, money for school, and other possible
             bonuses and benefits of the US Army and Army Reserve.
             Join the US Army Ranks by having a recruiter contact
             you!

             There is no obligation and your personal information
             will only be shared as needed to provide recruiters
             with military career and education information.

(Emphasis added).

      63. Previous versions of the website linked consumers with specific schools

and indicated that the Army recommended those schools. For instance, the website

included a form that consumers could complete “To Find Schools Near You!” and the

following plug for Grantham University that contained a hyperlink to the school’s

website: “Army.com invites you to explore Grantham University's online degree


                                          30
        Case 3:18-cv-01444-HNJ Document 1 Filed 09/06/18 Page 30 of 47




programs designed for military personnel! Associate, bachelor’s, and master’s

degree programs in Criminal Justice, Accounting, IT, Business, and more are

available.”

      64.     Another feature on previous versions of the website to assist consumers

in finding a school was the “School Finder” tab at the top of the landing page. Clicking

on the tab took consumers to a webpage with “ARMY.COM BE MORE”

emblazoned across the top with a form entitled “FIND DEGREE PROGRAMS

NOW!” that enabled a consumer to input areas of interest to assist in finding a post-

secondary school.

      65.     Other websites owned and operated by the Fanmail Defendants,

including air- force.com, collect consumers’ personal information using similar

webpages and statements.

      66.     The Fanmail Defendants sell the information they collect through

submissions on their websites to the Sunkey Defendants and to other lead aggregators

that market post- secondary schools.

 The Sunkey Defendants Continue Their Deception after Consumers Submit
                  Information on Defendants’ Websites

      67.     The information submitted through the Sunkey Defendants’ websites

and advertisements and the information that the Sunkey Defendants buy from third

parties, including the Fanmail Defendants, goes to the Sunkey Defendants’ call center.
                                          31
        Case 3:18-cv-01444-HNJ Document 1 Filed 09/06/18 Page 31 of 47




The Sunkey Defendants also send an automated transmission of consumer

information to individual military recruiters who have requested leads associated with

specific zip codes. The Sunkey Defendants, however, do not send the information

through official U.S. Armed Forces recruiting channels, and are not affiliated with it

or acting on behalf of any of its branches.

      68.    Sunkey’s call center has initiated millions of outbound telemarketing

calls to consumers who submitted information on Defendants’ websites. Numerous of

those calls have been made to numbers on the National Do Not Call Registry.

      69.    During the calls, the Sunkey Defendants reinforce the misrepresentations

on their websites that they either are, or are affiliated with, the military. Sales

Representatives (“SRs”) tell consumers that they are reaching out on behalf of the

military or for military recruiting purposes, in accordance with training materials that

direct SRs to tell consumers that they are calling “in regard to information requested

on the military.” Training materials also direct SRs, in order to “decrease the number

of HANG-UPS,” to “[e]mphasize the name of the branch and give a brief pause during

the phrase delivery. ‘Hello, this is NAVY… Enlist calling for John.’”

      70.    The Sunkey Defendants’ training materials instruct SRs to identify

themselves in their voicemail greeting as working at “Military Verification Services.”

      71.    SRs’ text messages to consumers urging them to call back further the

representation that the Sunkey Defendants are the military or are contacting
                                          32
        Case 3:18-cv-01444-HNJ Document 1 Filed 09/06/18 Page 32 of 47




consumers on its behalf. Instead of identifying themselves as representing the Sunkey

Defendants, the SRs identify themselves as being from “Military Verification.”

Consumers have received text messages similar to the following:




      72.    During the calls, the SRs, posing as military representatives, verify the

information that the consumer submitted. Call scripts direct them to gauge the

consumers’ interest in receiving information on military friendly colleges, stating:

             I see that you would qualify to receive information on
             military friendly colleges, so if you were interested in
             continuing your education, that information could be sent
             along with your military information. Is that something
             that interests you? . . . The military supports earning a
             degree while serving in the military. This information can
             help you make an informed decision and you get the
             chance to SERVE, LEARN and EARN.

      73.    If the consumer expresses interest in receiving information on “military

friendly colleges,” the SR, based on the consumers’ interests, recommends up to two

post-secondary schools. The SRs only recommend schools that have agreed to pay for

                                          33
        Case 3:18-cv-01444-HNJ Document 1 Filed 09/06/18 Page 33 of 47




Defendants’ education marketing leads.

      74.    If the consumer agrees during the call to be contacted by the

recommended schools, the Sunkey Entities sell the consumer’s information as a lead

to a lead aggregator for a price that ranges from $15 to $40. The lead aggregator passes

the lead on to the schools mentioned during the call to enable them to contact and

pitch the consumer.

      75.    The Sunkey Defendants also email consumers to promote specific

schools:




                                          34
       Case 3:18-cv-01444-HNJ Document 1 Filed 09/06/18 Page 34 of 47




      76. This email, sent from “MilitarySpot.com Recruiter,” states, in part, “Sorry

we missed you on the phone. We called to verify the information you entered about

joining the Military.” The email continues,

            Did you know? One of the main reasons people join the military
            is to get money for college to further their education. Make sure
            you review our Military Friendly schools and don’t get left
            behind. After all, a college diploma is something no one can
            ever take away from you.

The email then presents several schools as being “in our network.”

                                         35
        Case 3:18-cv-01444-HNJ Document 1 Filed 09/06/18 Page 35 of 47




      77.    The Sunkey Defendants also use the email addresses they collect under

the guise of military recruitment to advertise on behalf of other companies. The

Sunkey Defendants have emailed consumers advertisements for products such as

online dating, mortgages, credit repair services, and scholarships. They have also sold

consumers’ data to third parties who use it to market unrelated products and services

and who may re-sell it or use it for other unknown purposes.

                           VIOLATIONS OF THE FTC ACT

      78.    Section 5(a) of the FTC Act, 15 U.S.C. § 45(a), prohibits “unfair or

deceptive acts or practices in or affecting commerce.”

      79.    Misrepresentations or deceptive omissions of material fact constitute

deceptive acts or practices prohibited by Section 5(a) of the FTC Act.

                                     Count I
                             (Against All Defendants)

      80.    In numerous instances, in connection with generating leads to sell to

educational or other institutions, Defendants have represented, directly or indirectly,

expressly or by implication, that they are, represent, or are affiliated with the United

States military.

      81.    In truth and in fact, Defendants are not the United States military or

representatives of or affiliated with the United States military.


                                           36
        Case 3:18-cv-01444-HNJ Document 1 Filed 09/06/18 Page 36 of 47




      82. Therefore, Defendants’ representation as set forth in Paragraph 80 of this

Complaint is false and misleading and constitutes a deceptive act or practice in

violation of Section 5(a) of the FTC Act, 15 U.S.C. § 45(a).

                                     Count II
                           (Against the Sunkey Defendants)

      83.    In numerous instances, in connection with generating leads to sell to

educational or other institutions, Sunkey Defendants have represented, directly or

indirectly, expressly or by implication, that the United States military recommends or

endorses a specific post-secondary school.

      84. In truth and in fact, in numerous instances in which Sunkey Defendants

have made the representation set forth in Paragraph 83 of this Complaint, the United

States military has not recommended or endorsed the specific post-secondary school.

      85. Therefore, the Sunkey Defendants’ representation as set forth in

Paragraph 83 of this Complaint is false and misleading and constitutes a deceptive act

or practice in violation of Section 5(a) of the FTC Act, 15 U.S.C. § 45(a).

                                  Count III
                             (Against All Defendants)

      86.    In numerous instances, in connection with generating leads to sell to

educational or other institutions, Defendants have represented, directly or indirectly,

expressly or by implication, that the information they have collected from consumers

                                         37
        Case 3:18-cv-01444-HNJ Document 1 Filed 09/06/18 Page 37 of 47




will be provided to the military for recruitment purposes and will not be shared with

anyone else.

      87.      In truth and in fact, in numerous instances in which Defendants have

made the representation set forth in Paragraph 86 of this Complaint, the information

Defendants collected from consumers was used for purposes other than military

recruitment and was shared with others than military recruiters.

      88. Therefore, Defendants’ representation as set forth in Paragraph 86 of this

Complaint is false and misleading and constitutes a deceptive act or practice in

violation of Section 5(a) of the FTC Act, 15 U.S.C. § 45(a).

               VIOLATIONS OF THE TELEMARKETING SALES RULE

      89.      Congress directed the FTC to prescribe rules prohibiting abusive and

deceptive telemarketing acts or practices pursuant to the Telemarketing Act, 15 U.S.C.

§§ 6101-6108. The FTC adopted the TSR in 1995, extensively amended it in 2003,

and amended certain provisions thereafter. 16 C.F.R. Part 310.

      90.      Among other things, the 2003 amendments to the TSR established a do-

not-call registry, maintained by the FTC (the “National Do Not Call Registry” or

“Registry”), of consumers who do not wish to receive certain types of telemarketing

calls. Consumers can register their telephone numbers on the Registry without charge

either through a toll-free telephone call or over the Internet at donotcall.gov.

      91.      Consumers who receive telemarketing calls to their registered numbers
                                           38
        Case 3:18-cv-01444-HNJ Document 1 Filed 09/06/18 Page 38 of 47




can complain of Registry violations the same way they registered, through a toll-free

telephone call or over the Internet at donotcall.gov, or by otherwise contacting law

enforcement authorities.

      92.    The FTC allows sellers, telemarketers, and other permitted organizations

to access the Registry over the Internet at telemarketing.donotcall.gov, to pay the

fee(s) if required, and to download the numbers not to call.

      93.    Under the TSR, a “telemarketer” means any person who, in connection

with telemarketing, initiates or receives telephone calls to or from a customer or

donor. 16 C.F.R. § 310.2(ff). A “seller” means any person who, in connection with a

telemarketing transaction, provides, offers to provide, or arranges for others to provide

goods or services to the customer in exchange for consideration. Id. § 310.2(dd).

      94.    Under the TSR, an “outbound telephone call” means a telephone call

initiated by a telemarketer to induce the purchase of goods or services or to solicit a

charitable contribution. 16 C.F.R. § 310.2(x).

      95.    The TSR prohibits sellers and telemarketers from initiating an outbound

telephone call to numbers on the Registry unless the seller (1) has obtained the

consumer’s express agreement, in writing, to place such calls, or (2) has an established

business relationship with that consumer, and the consumer has not stated that he or

she does not wish to receive such calls. 16 C.F.R. §§ 310.2(q), 310.4(b)(1)(iii)(B).

Valid written consent to receive a live telemarketing call to a number on the Registry
                                          39
        Case 3:18-cv-01444-HNJ Document 1 Filed 09/06/18 Page 39 of 47




requires: (i) a writing signed by the consumer, (ii) clearly evidencing authorization to

receive calls placed on behalf of a specific seller, and (iii) stating the phone number

to which such calls may be placed. 16 C.F.R. § 310.4(b)(1)(iii)(B)(1).

      96. The TSR prohibits sellers and telemarketers from calling any telephone

number within a given area code unless the seller on whose behalf the call is made

has paid the annual fee for access to the telephone numbers within that area code that

are included in the Registry. 16 C.F.R. § 310.8.

      97. Pursuant to Section 3(c) of the Telemarketing Act, 15 U.S.C. § 6102(c),

and Section 18(d)(3) of the FTC Act, 15 U.S.C. § 57a(d)(3), a violation of the TSR

constitutes an unfair or deceptive act or practice in or affecting commerce, in violation

of Section 5(a) of the FTC Act, 15 U.S.C. § 45(a).

    The Sunkey Defendants Violated the Do Not Call Provisions of the TSR

      98.    The Sunkey Defendants are “telemarketers” engaged in “telemarketing”

as those terms are defined in the TSR.

      99.    The Sunkey Defendants initiated outbound telephone calls to consumers

in the United States to induce the purchase of post-secondary educational services and

other goods and services.

      100. The Sunkey Defendants have engaged in telemarketing by a plan,

program, or campaign conducted to induce the purchase of educational services and

                                          40
        Case 3:18-cv-01444-HNJ Document 1 Filed 09/06/18 Page 40 of 47




other goods and services by the use of one or more telephones and which involves

more than one interstate telephone call.

      101. The Sunkey Defendants made no efforts to prevent their live

telemarketing calls from being placed to telephone numbers on the National Do Not

Call Registry.

      102. Consequently, the Sunkey Defendants made hundreds of thousands of

calls to telephone numbers on the National Do Not Call Registry.

      103. Consumers whose telephone numbers were on the National Do Not Call

Registry and who received the Sunkey Defendants’ live telemarketing calls did not

have a pre-existing business relationship with the Sunkey Defendants nor had they

given express written consent to receive telemarketing calls specifically from the

Sunkey Defendants or from the third parties to whom the Sunkey Defendants sold the

sales leads.

   The Fanmail Defendants Assisted or Facilitated the Sunkey Defendants’
                Violations of the Telemarketing Sales Rule

      104. It is a violation of the TSR for any person to provide substantial

assistance or support to any seller or telemarketer when that person knows or

consciously avoids knowing that the seller or telemarketer is engaged in any practice

that violates Sections 310.3(a), (c), or (d), or 310.4 of the TSR. 16 C.F.R. § 310.3(b).

      105. The Fanmail Defendants created websites that offered consumers the

                                           41
       Case 3:18-cv-01444-HNJ Document 1 Filed 09/06/18 Page 41 of 47




opportunity to complete an online form to obtain additional information about military

enlistment. The Fanmail Defendants sold the information they collected from these

websites to lead aggregators, including the Sunkey Defendants so that they could

market educational services and other goods and services to those consumers.

      106. The Fanmail Defendants knew or consciously avoided knowing that the

Sunkey Defendants were calling consumers whose telephone numbers were on the

National Do Not Call Registry and who did not have a pre-existing business

relationship with the Sunkey Defendants nor had they given express written consent

to receive telemarketing calls specifically from the Sunkey Defendants.

                                    Count IV
                           (Against the Sunkey Defendants)

      107. In numerous instances, in connection with telemarketing, the Sunkey

Defendants have initiated or caused others to initiate an outbound telephone call to a

person’s telephone number on the National Do Not Call Registry in violation of the

TSR, 16 C.F.R. § 310.4(b)(1)(iii)(B).


                                     Count V
                           (Against the Sunkey Defendants)

      108. In connection with telemarketing, the Sunkey Defendants have initiated,

or caused others to initiate, numerous outbound telephone calls to telephone numbers

within a given area code when Defendants had not, either directly or through another

                                         42
        Case 3:18-cv-01444-HNJ Document 1 Filed 09/06/18 Page 42 of 47




person, paid the required annual fee for access to telephone numbers within that area

code that are included in the National Do Not Call Registry, in violation of the TSR,

16 C.F.R. § 310.8.

                                     Count VI
                            (Against the Sunkey Defendants)

      109. In connection with telemarketing, the Sunkey Defendants have

misrepresented, directly, or by implication:

            a.   their affiliation with, or endorsement of or sponsorship by, a person

                 or government entity, including that the Sunkey Defendants are,

                 represent, or are affiliated with the United States military; and

            b. that the United States military recommends or endorses a specific

                 post- secondary school.

      110. The Sunkey Defendants’ practice as alleged in Paragraph 109 of this

Complaint is a deceptive telemarketing practice that violates the TSR, 16 C.F.R.

§§ 310.3(a)(2)(vii) & (a)(4).

                                    Count VII
                           (Against the Fanmail Defendants)

      111. In numerous instances, the Fanmail Defendants have provided

substantial assistance or support to sellers or telemarketers whom the Fanmail

Defendants knew or consciously avoided knowing, were engaged in the following


                                           43
        Case 3:18-cv-01444-HNJ Document 1 Filed 09/06/18 Page 43 of 47




violations of the TSR:

              a.   initiating or causing others to initiate an outbound telephone call to a

                   person’s telephone number on the National Do Not Call Registry in

                   violation of the TSR, 16 C.F.R. § 310.4(b)(1)(iii)(B); and

              b. misrepresenting, directly or by implication (i) affiliation with or

                   endorsement of or sponsorship by, a person or government entity,

                   including that the Sunkey Defendants are, represent, or are affiliated

                   with the United States military; and (ii) that the United States military

                   recommends or endorses a specific post-secondary school.

      112. The Fanmail Defendants’ acts or practices as described in Paragraph 111

above, are deceptive telemarketing acts or practices that violate the TSR, 16 C.F.R.

§ 310.3(b).

                                    CONSUMER INJURY

      113. Consumers have suffered and will continue to suffer substantial injury

as a result of Defendants’ violations of the FTC Act and the TSR. In addition,

Defendants have been unjustly enriched as a result of their unlawful acts or practices.

Absent injunctive relief by this Court, Defendants are likely to continue to injure

consumers, reap unjust enrichment, and harm the public interest.

                      THIS COURT’S POWER TO GRANT RELIEF

      114. Section 13(b) of the FTC Act, 15 U.S.C. § 53(b), empowers this Court
                                             44
           Case 3:18-cv-01444-HNJ Document 1 Filed 09/06/18 Page 44 of 47




 to grant injunctive and other ancillary relief to prevent and remedy any violation of

 any provision of law enforced by the FTC.

      115.     Section 5(m)1)(A) of the FTC Act, 15 U.S.C. § 45(m)(1)(A), as modified

by Section 4 of the Federal Civil Penalties Inflation Adjustment Act of 1990, 28 U.S.C.

§ 2461, as amended, and as implemented by 16 C.F.R. § 1.98(d), authorizes this Court

to award monetary civil penalties of up to $16,000 for each violation of the TSR on or

before July 31, 2016, 16 C.F.R. § 1.98(d) (2013), and up to $40,000 for each violation

of the TSR after July 31, 2016. 16 C.F.R. § 1.98(d) (2016). Defendants’ violations of

the TSR were committed with the knowledge required by Section 5(m)(1)(A) of the

FTC Act, 15 U.S.C. § 45(m)(1)(A).

       116. This Court, in exercise of its equitable jurisdiction, may award ancillary

 relief to remedy injury caused by Defendants’ violations of the TSR and the FTC Act.

                                  PRAYER FOR RELIEF

       Wherefore, Plaintiff requests that this Court, as authorized by Sections 5(a),

 5(m)(1)(A), and 13(b) of the FTC Act, 15 U.S.C. §§ 45(a), 45(m)(1)(A), 53(b), and

 pursuant to its own equitable powers:

      A.      Enter judgment against Defendants and in favor of Plaintiff for each

violation alleged in this complaint;

      B.      Award Plaintiff monetary civil penalties from each Defendant for every

                                          45
           Case 3:18-cv-01444-HNJ Document 1 Filed 09/06/18 Page 45 of 47




violation of the TSR;

      C.      Enter a permanent injunction to prevent future violations of the FTC Act

and the TSR by Defendants;

      D.      Award such relief as the Court finds necessary to redress injury resulting

from Defendants’ violations of the FTC Act and the TSR, including but not limited

to, rescission or reformation of contracts, restitution, the refund of monies paid, and

the disgorgement of ill- gotten monies; and

      E.      Award Plaintiff the costs of bringing this action, as well as such other and

additional relief as the Court may determine to be just and proper.




                                            46
Case 3:18-cv-01444-HNJ Document 1 Filed 09/06/18 Page 46 of 47
       Case 3:18-cv-01444-HNJ Document 1 Filed 09/06/18 Page 47 of 47




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                                        48
